     Case 1:21-cr-00537-JMC Document 357 Filed 03/08/24 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00537-JMC
                                 )
RYAN SAMSEL,                     )
                                 )
                                 )
               Defendant         )
                                 )




                MOTION TO WITHDRAW APPEARANCE




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       Case 1:21-cr-00537-JMC Document 357 Filed 03/08/24 Page 2 of 2




      NOW COMES William L. Shipley and moves this Honorable Court to

allow him to withdraw his appearance as counsel for the following reasons:

      1. Defendant Samsel requested for undersigned to withdraw his

         appearance prior to trial.

      2. Co-counsel Stanley Woodward shall continue to serve as counsel on

         behalf of Defendant Samsel.




Dated: March 8, 2024                  Respectfully submitted,

                                      /s/ William L. Shipley
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